UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF TEXAS
HOUSTON DIVISION

UNITED STATES OF AMERICA

v. CRIMINAL NO. 4:18-cr-455

GARY SHAWN HAYNES, JR.,
Defendant.

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PLEA AGREEMENT
The United States of America, by and through Ryan K. Patrick, United States
Attorney for the Southern District of Texas, and Sherri L. Zack, Assistant United
States Attorney, and the defendant, Gary Shawn Haynes (“Defendant”), and
Defendant’s counsel, pursuant to Rule 11(c)(1)(A) of the Federal Rules of Criminal
Procedure, state that they have entered into an agreement, the terms and conditions
of which are as follows:
Defendant’s Agreement
1. Defendant agrees to plead guilty to Count 1 of the Superseding
Indictment. Count 1 charges Defendant with Conspiracy to Commit Sex
Trafficking of Minors, in violation of Title 18, United States Code, Sections
1594(c), 1591(a)(1) and (2), (b)(2) and (c). Defendant, by entering this plea, agrees

that he is waiving any right to have the facts that the law makes essential to the

 

 

 

 
punishment either charged in the indictment, or proved to a jury or proven beyond a
reasonable doubt.
Punishment Range

2. The statutory maximum penalty for each violation of Title 18, United
States Code, Sections 1594(c), 1591(a)(1) and (2), (b)(2) and (c), is imprisonment
for any term of years or for Life, and a fine of not more than $250,000.
Additionally, Defendant may receive a term of supervised release after
imprisonment of at least 5 years and up to Life. See Title 18, United States Code,
sections 3559(a)(1), and 3583(b)(2). Defendant acknowledges and understands
that if he should violate the conditions of any period of supervised release which
may be imposed as part of his sentence, then Defendant may be imprisoned for up
to Life years, without credit for time already served on the term of supervised release
prior to such violation. See Title 18, United Stated Code, sections 3559(a)(1), and
3583(e)(3) and (k). Defendant understands that he cannot have the imposition or
execution of the sentence suspended, nor is he eligible for parole.

Mandatory Special Assessment

3. Pursuant to Title 18, United States Code, section 3013(a)(2)(A),

immediately after sentencing, Defendant will pay to the Clerk of the United States

District Court a special assessment in the amount of one hundred dollars ($100.00)

 

 
per count of conviction. The payment will be by cashier’s check or money order,
payable to the Clerk of the United States District Court, c/o District Clerk’s Office,
P.O. Box 61010, Houston, Texas 77208, Attention: Finance.

4. Pursuant to Title 18, United States Code, Section 3014(a)(3), if the court
Determines that the Defendant is a non-indigent person, the Defendant will pay to
the Clerk of the United States District Court a special assessment in the amount of
five thousand dollars ($5000.00) per count of conviction. The payment will be by
cashier’s check or money order, payable to the Clerk of the United States District
Court, c/o District clerk’s Office, P.O. Box 61010, Houston, TX 77208, Attention:
Finance.

Immigration Consequences

5. Defendant recognizes that pleading guilty may have consequences with
respect to his/her immigration status. Defendant understands that if he/she is not a
citizen of the United States, by pleading guilty he/she may be removed from the
United States, denied citizenship, and denied admission to the United States in the
future. Defendant understands that if he is a naturalized United States citizen,
pleading guilty may result in immigration consequences, such as denaturalization
and potential deportation or removal from the United States. Defendant’s attorney

has advised Defendant of the potential immigration consequences resulting from

 

 

 
Defendant’s plea of guilty, and Defendant affirms that he/she wants to plead guilty
regardless of any immigration consequences that may result from the guilty plea and

conviction.

Waiver of Appeal and Collateral Review

6. Defendant is aware that Title 28, United States Code, section 1291, and
Title 18, United States Code, section 3742, afford a defendant the right to appeal the
conviction and sentence imposed. Defendant is also aware that Title 28, United
States Code, section 2255, affords the right to contest or “collaterally attack” a
conviction or sentence after the judgment of conviction and sentence has become
final. Defendant knowingly and voluntarily waives the right to appeal or
“collaterally attack” the conviction and sentence, except that Defendant does not
waive the right to raise a claim of ineffective assistance of counsel on direct appeal,
if otherwise permitted, or on collateral review in a motion under Title 28, United
States Code, section 2255. Defendant’s knowing and voluntary waiver of the right
to appeal or collaterally attack the conviction and sentence includes waiving the right
to raise on appeal or on collateral review any argument that (1) the statute(s) to which
the defendant is pleading guilty is unconstitutional and (2) the admitted conduct does
not fall within the scope of the statute(s). In the event Defendant files a notice of

appeal following the imposition of the sentence or later collaterally attacks his

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conviction or sentence, the United States will assert its rights under this agreement
and seek specific performance of these waivers.

7. In agreeing to these waivers, Defendant is aware that a sentence has not
yet been determined by the Court. Defendant is also aware that any estimate of the
possible sentencing range under the sentencing guidelines that he/she may have
received from his/her counsel, the United States or the Probation Office, is a
prediction and not a promise, did not induce his/her guilty plea, and is not binding
on the United States, the Probation Office or the Court. The United States does not
make any promise or representation concerning what sentence the defendant will
receive. Defendant further understands and agrees that the United States
Sentencing Guidelines are “effectively advisory” to the Court. See United States v.
Booker, 543 U.S. 220 (2005). Accordingly, Defendant understands that, although
the Court must consult the Sentencing Guidelines and must take them into account
when sentencing Defendant, the Court is not bound to follow the Sentencing
Guidelines nor sentence Defendant within the calculated guideline range.

8. Defendant understands and agrees that each and all waivers contained in
the Agreement are made in exchange for the concessions made by the United States

in this plea agreement.

 

 
The United States’ Agreements
9. The United States agrees to each of the following:

(a) If Defendant pleads guilty to Count | of the superseding
indictment and persists in that plea through sentencing, and if the Court
accepts this plea agreement, the United States will move to dismiss any
remaining counts of the superseding indictment at the time of
sentencing;

(b) If the Court determines that Defendant qualifies for an
adjustment under section 3E1.1(a) of the United States Sentencing
Guidelines, and the offense level prior to operation of section 3E1.1(a)
is 16 or greater, the United States will move under section 3E1.1(b) for
an additional one-level reduction because Defendant timely notified
authorities of his or her intent to plead guilty, thereby permitting the
United States to avoid preparing for trial and permitting the United
States and the Court to allocate their resources more efficiently.
Agreement Binding - Southern District of Texas Only
10. The United States Attorney’s Office for the Southern District of Texas
agrees that it will not further criminally prosecute Defendant in the Southern District
of Texas for offenses arising from conduct charged in the indictment. This plea
agreement binds only the United States Attorney’s Office for the Southern District
of Texas and Defendant. It does not bind any other United States Attorney’s Office.
The United States Attorney’s Office for the Southern District of Texas will bring

this plea agreement and the full extent of Defendant’s cooperation to the attention of

other prosecuting offices, if requested.

 
United States’ Non-Waiver of Appeal
11. The United States reserves the right to carry out its responsibilities under
guidelines sentencing. Specifically, the United States reserves the right:
(a) to bring its version of the facts of this case, including its evidence
file and any investigative files, to the attention of the Probation Office

in connection with that office’s preparation of a presentence report;

(b) to set forth or dispute sentencing factors or facts material to
sentencing;

(c) to seek resolution of such factors or facts in conference with
Defendant’s counsel and the Probation Office;

(d) to file a pleading relating to these issues, in accordance with

section 6A1.2 of the United States Sentencing Guidelines and Title 18,

United States Code, section 3553(a); and

(e) to appeal the sentence imposed or the manner in which it was

determined.

Sentence Determination

12. Defendant is aware that the sentence will be imposed after consideration
of the United States Sentencing Guidelines and Policy Statements, which are only
advisory, as well as the provisions of Title 18, United States Code, Section 3553(a).

Defendant nonetheless acknowledges and agrees that the Court has authority to

impose any sentence up to and including the statutory maximum set for the

 
offense(s) to which Defendant pleads guilty, and that the sentence to be imposed is
within the sole discretion of the sentencing judge after the Court has consulted the
applicable Sentencing Guidelines. Defendant understands and agrees that the
parties’ positions regarding the application of the Sentencing Guidelines do not bind
the Court and that the sentence imposed is within the discretion of the sentencing
judge. Ifthe Court should impose any sentence up to the maximum established by
statute, or should the Court order any or all of the sentences imposed to run
consecutively, Defendant cannot, for that reason alone, withdraw a guilty plea, and
will remain bound to fulfill all of the obligations under this plea agreement.
Rights at Trial

13. Defendant understands that by entering into this agreement, he
surrenders certain rights as provided in this plea agreement. Defendant understands
that the rights of a defendant include the following:

(a) If Defendant persisted in a plea of not guilty to the charges,

defendant would have the right to a speedy jury trial with the assistance

of counsel. The trial may be conducted by a judge sitting without a

jury if Defendant, the United States, and the court all agree.

(b) At a trial, the United States would be required to present

witnesses and other evidence against Defendant. Defendant would

have the opportunity to confront those witnesses and his attorney would

be allowed to cross-examine them. In turn, Defendant could, but

would not be required to, present witnesses and other evidence on his
own behalf. If the witnesses for Defendant would not appear

 

 
voluntarily, he could require their attendance through the subpoena
power of the court; and

(c) At a trial, Defendant could rely on a privilege against self-
incrimination and decline to testify, and no inference of guilt could be
drawn from such refusal to testify. However, if Defendant desired to

do so, he/she could testify on his/her own behalf.

Factual Basis for Guilty Plea

14. Defendant is pleading guilty because he is in fact guilty of the charges
contained in Count 1 of the superseding indictment. If this case were to proceed to
trial, the United States could prove each element of the offense beyond a reasonable
doubt. The following facts, among others would be offered to establish Defendant’s
guilt:

Between October 1, 2017, and November 24, 2017, Defendant Gary Shawn
Haynes, Jr., within the Southern District of Texas and elsewhere, conspired with
Jaimian Rashaad Sims, Deszmann Broussard, and others to knowingly, in and
affecting interstate commerce, recruit, entice, harbor, transport, provide, obtain,
advertise, maintain, patronize and solicit by any means, and benefited financially
and by receiving anything of value, from participation in a venture which
participated in any or all of the activities mentioned above would cause a person

whom the Defendant had a reasonable opportunity to observe and had not attained

the age of 18 years to engage in commercial sex acts.

 
On or about October 1, 2017, Defendant Gary Shawn Haynes, Jr. was
introduced by Tabbetha Mangis to Jane Doe, who was 17 years of age, (DOB
8/15/2000). Mangis knows Jane Doe as the best friend of her younger sister.
Mangis knew Jane Doe resided in the city she and her sister grew up in, several hours
from Houston, TX. The introduction to Haynes was made via social media/text
message. Jane Doe communicated with Haynes until November 18, 2017. On
that date, it was agreed that Haynes would pick up Jane Doe and bring her to
Houston, TX. Mangis gave her car to Haynes and others to pick up Jane Doe.
Jane Doe was taken by Haynes to Houston, TX and brought to “The Mansion”, a
home located at 5671 Grand Floral Blvd. Jane Doe was instructed on the rules of
“the game”, meaning how to conduct herself while engaging in commercial sex for
the benefit of Haynes and others. At that time, Mangis was one of the residents of
that home, along with her then boyfriend Co-defendant Jaimian Sims.

Haynes has known Sims since late 2016 or early 2017. Haynes knows
Sims as “Lean”, a member of TSF or The Sauce Factory and as a pimp. Haynes
was aware of Sims sex trafficking activities and stated Sims told him to be a pimp.
Haynes stated Sims encouraged him to be a pimp and gave Haynes the opportunity
to hang around and observe Sims function as a pimp.

Shortly after arriving at The Mansion, Jane Doe was taken to an Express

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Inn and provided with fraudulent identification to rent a room. Due to Jane Doe’s
real age she was unable to rent a room on her own.

Haynes was aware that Jane Doe was under the age of 18 and overheard a
conversation between Mangis and Sims where they discussed that Jane Doe was
only 17 years old. While at the hotel, Jane Doe recognized Mangis’s boyfriend,
Jaimian Sims, who Jane Doe knows as Sauce Lean of TSF a rap group she followed
on social media. Records indicate that Sims was already checked into the hotel
when Jane Doe arrived. Jane Doe was introduced to Janet Doe, an adult trafficking
victim of Sims. Janet Doe was instructed to teach Jane Doe how to pose for
advertisement photographs and to post ads of Jane Doe for commercial sex. Haynes
witnessed an exchange between Sims and Janet Doe where Sims told Janet Doe not
to leave Jane Doe by herself. Haynes indicated that Sims knew Jane Doe was being
posted in ads by Janet Doe.

Jane Doe engaged in commercial sex for the 3 days prior to Thanksgiving,
November 23, 2017. All monies earned by Jane Doe were provided to Haynes
and/or Sims.

On Thanksgiving, Jane Doe called 911 and her grandmother and reported that
she was being forced to engage in commercial sex. Law enforcement responded to

the Express Inn and Jane Doe was recovered. The Defendants utilized cellular

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phones and the internet, a means and facility of interstate and foreign commerce, to
solicit, communicate with and arrange for the parties involved to engage in
commercial sex acts.
Breach of Plea Agreement

15. If Defendant should fail in any way to fulfill completely all of the
obligations under this plea agreement, the United States will be released from its
obligations under the plea agreement, and Defendant’s plea and sentence will stand.
If at any time Defendant retains, conceals, or disposes of assets in violation of this
plea agreement, or if Defendant knowingly withholds evidence or is otherwise not
completely truthful with the United States, then the United States may move the
Court to set aside the guilty plea and reinstate prosecution. Any information and
documents that have been disclosed by Defendant, whether prior to or subsequent to
this plea agreement, and all leads derived therefrom, will be used against defendant
in any prosecution.

Restitution, Forfeiture, and Fines — Generally

16. This Plea Agreement is being entered into by the United States on the
basis of Defendant’s express representation that he will make a full and complete
disclosure of all assets over which he exercises direct or indirect control, or in which

he has any financial interest. Defendant agrees not to dispose of any assets or take

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any action that would effect a transfer of property in which he has an interest, unless
Defendant obtains the prior written permission of the United States.

17. Defendant agrees to make complete financial disclosure by truthfully
executing a sworn financial statement (Form OBD-500 or similar form) within 14
days of signing this plea agreement. Defendant agrees to authorize the release of
all financial information requested by the United States, including, but not limited
to, executing authorization forms permitting the United States to obtain tax
information, bank account records, credit histories, and social security information.
Defendant agrees to discuss and answer any questions by the United States relating
to Defendant’s complete financial disclosure.

18. Defendant agrees to take all steps necessary to pass clear title to
- forfeitable assets to the United States and to assist fully in the collection of restitution
and fines, including, but not limited to, surrendering title, executing a warranty deed,
signing a consent decree, stipulating to facts regarding the transfer of title and the
basis for the forfeiture, and signing any other documents necessary to effectuate such
transfer. Defendant also agrees to direct any banks which have custody of his assets
to deliver all funds and records of such assets to the United States.

19. Defendant understands that forfeiture, restitution, and fines are separate

components of sentencing and are separate obligations.

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Restitution

20. Defendant agrees to pay full restitution to the victim(s) regardless of the
count(s) of conviction. Defendant understands and agrees that the Court will
determine the amount of restitution to fully compensate the victim(s). Defendant
agrees that restitution imposed by the Court will be due and payable immediately
and that Defendant will not attempt to avoid or delay payment. Subject to the
provisions of paragraph 7 above, Defendant waives the right to challenge in any
manner, including by direct appeal or in a collateral proceeding, the restitution order
imposed by the Court.

Forfeiture

21. Defendant stipulates and agrees that the property listed in the
Indictment’s Notice of Forfeiture (and in any supplemental Notices) is subject to
forfeiture, and Defendant agrees to the forfeiture of that property.

22. Defendant agrees to waive any and all interest in any asset which is the
subject of a related administrative or judicial forfeiture proceeding, whether criminal
or civil, federal or state.

23. Defendant consents to the order of forfeiture becoming final as to
Defendant immediately following this guilty plea, pursuant to Federal Rule of

Criminal Procedure 32.2(b)(4)(A).

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24. Subject to the provisions of paragraph 7 above, Defendant waives the
right to challenge the forfeiture of property in any manner, including by direct appeal
or in a collateral proceeding.

Fines

25. Defendant understands that under the Sentencing Guidelines the Court is
permitted to order Defendant to pay a fine that is sufficient to reimburse the
government for the costs of any imprisonment or term of supervised release, if any.
Defendant agrees that any fine imposed by the Court will be due and payable
immediately, and Defendant will not attempt to avoid or delay payment. Subject to
the provisions of paragraph 6 above, Defendant waives the right to challenge the fine
in any manner, including by direct appeal or in a collateral proceeding.

Notification of the Sex Offender Registration and Notification Act

26. Defendant has been advised, and understands, that under the Sex
Offender Registration and Notification Act, a federal law, he must register and keep
the registration current in each of the following jurisdictions: where he resides;
where he is an employee; and where he is a student. The Defendant understands
that the requirements for registration include providing his name, his residence
address and the names and addresses of any places where he is or will be an

employee or a student, among other information. The Defendant further

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understands that the requirement to keep the registration current includes informing
at least one jurisdiction in which he resides, is an employee, or is a student not later
than three (3) business days after any change of residence, employment, or student
status. Defendant has been advised, and understands, that failure to comply with
these obligations subjects him to prosecution for failure to register under federal law,

18 U.S.C. §2250, which is punishable by a fine or imprisonment, or both.

Complete Agreement
27. This written plea agreement, consisting of 19 pages, including the
attached addendum of Defendant and his/her attorney, constitutes the complete plea
agreement between the United States, Defendant, and Defendant’s counsel. No
promises or representations have been made by the United States except as set forth
in writing in this plea agreement. Defendant acknowledges that no threats have
been made against him/her and that he/she is pleading guilty freely and voluntarily

because he is guilty.

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28. Any modification of this plea agreement must be in writing and signed

 

 

 

 

by all parties.
Filed at besisstuoay , Texas, on More H , 20/1.
Befendeni
Subscribed and sworn to before me on “May. , 2019.
DAVID J. BRADLEY, Clerk
UNITED STATES DISTRICT CLERK
By: a wn Crete
Deputy United States District Clerk
APPROVED:

Ryan K. Patrick
United States Attorney

4. tl Zee

a, Sherri L. Zack Louis Latimer
Assistant United State omey Attorney for Defendant
Southern District of Texas

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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF TEXAS
HOUSTON DIVISION

UNITED STATES OF AMERICA §

v. CRIMINAL NO. 4:18-cr-455

GARY SHAWN HAYNES, JR.,
Defendant.

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PLEA AGREEMENT -- ADDENDUM

I have fully explained to Defendant his/her rights with respect to the pending
indictment. I have reviewed the provisions of the United States Sentencing
Commission’s Guidelines Manual and Policy Statements and I have fully and
carefully explained to Defendant the provisions of those Guidelines which may
apply in this case. I have also explained to Defendant that the Sentencing
Guidelines are only advisory and the court may sentence Defendant up to the
maximum allowed by statute per count of conviction. Further, I have carefully
reviewed every part of this plea agreement with Defendant. To my knowledge,

Defendant’s decision to enter into this agreement is an informed and voluntary one.

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Attorney for Defendant Date

 

 

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I have consulted with my attorney and fully understand all my rights with

respect to the indictment pending against me. My attorney has fully explained, and

I understand, all my rights with respect to the provisions of the United States

Sentencing Commission’s Guidelines Manual which may apply in my case. I have

read and carefully reviewed every part of this plea agreement with my attorney. I

understand this agreement and I voluntarily agree to its terms.

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Defendant — Date

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